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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


 In re:                                            Case No. 16-42529-399
                                                   CHAPTER 11

                                                   Jointly Administered
 Peabody Energy Corporation, et al.,

                            Debtors.




                 NOTICE OF FILING STIPULATION OF THE DEBTORS
               AND GOVERNMENTS PURSUANT TO SECTION 105 OF THE
                 BANKRUPTCY CODE AND BANKRUPTCY RULE 9019

          PLEASE TAKE NOTICE that the above-captioned debtors hereby file that certain

 Stipulation of the Debtors and Governments to Section 105 of the Bankruptcy Code

 and Bankruptcy Rule 9019 (the “Stipulation”), a copy of which is attached hereto as Exhibit A.


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                                            Respectfully submitted,
 Dated: March 17, 2017
        St. Louis, Missouri                 /s/ Steven N. Cousins
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                                            Susan K. Ehlers, MO 49855
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                                            Attorneys for Debtors and Debtors in
                                            Possession




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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


                                     )
 In re:                              )                                     Case No. 16-42529-399
                                     )
 PEABODY ENERGY CORPORATION, et al., )                                     Chapter 11
                                     )
            Debtors.                 )                                     Jointly Administered
                                     )

           STIPULATION AND AGREED ORDER OF THE DEBTORS AND
         GOVERNMENTS TO SECTION 105 OF THE BANKRUPTCY CODE AND
                         BANKRUPTCY RULE 9019

            This Stipulation and Agreed Order is entered into by and among (i) Peabody Energy

 Corporation ("PEC"), on behalf of itself and its 152 debtor-affiliates, (collectively with PEC,

 the "Debtors," or, when used in reference to such Debtors on or after the Effective Date,

 the "Reorganized Debtors") and (ii) the United States of America (the "United States"), on behalf

 of (a) the Environmental Protection Agency (the "EPA"), (b) the United States Department of the

 Interior (the "DOI"), (c) the states of Illinois, Kansas, Missouri, Montana and Oklahoma

 (the "States"), (d) the Eastern Shawnee Tribe of Oklahoma, (e) the Ottawa Tribe of Oklahoma,

 (f) the Peoria Tribe of Indians of Oklahoma, (g) the Seneca-Cayuga Nation, (h) the Wyandotte

 Nation, (i) the Miami Tribe of Oklahoma and (j) the Cherokee Nation ((d) through (j),

 collectively, the "Seven Tribes," and collectively with EPA, DOI and the States,

 the "Governments"). The Debtors and the Governments are referred to in this Stipulation and

 Agreed Order collectively as the "Parties").1




 1
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Plan.

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                                        PROCEDURAL HISTORY

          A.         On April 13, 2016, the Debtors commenced reorganization cases in this Court by

 filing voluntary petitions for relief under chapter 11 of title 11 of the United States Code

 (the "Bankruptcy Code"). By order of the Court [Dkt. No. 105], the Debtors' chapter 11 cases

 have been consolidated for procedural purposes only and are being jointly administered.

          B.         Prior to, or on the bar date established by this Court for government claims, the

 Governments filed Proofs of Claim Nos. 5537, 5538, 5539, 5540, 5541, 5542, 5543, 5544, 5545,

 5546, 5547, 5550, 5620, 5621, 6120, 6145, 6689, 6690, 6722, 6730, 6731, 6733, 6735, 6736,

 6738, 6760, 6766, 6768, 6773, 6774, 6775, 6776, 6777, 6921 against PEC and Debtor Gold

 Fields Mining, LLC ("Gold Fields") alleging certain environmental liabilities of PEC and Gold

 Fields (collectively, the "Environmental Proofs of Claim"). The Environmental Proofs of Claim

 are set forth below on Table 1:

                                                  TABLE 1

 Proof of
  Claim                Date Filed                 Claimant                  Debtor        Claim Amount
  5537               August 19, 2016      Ottawa Tribe of Oklahoma           PEC          $149,444,000.00
                                          Eastern Shawnee Tribe of
   5538              August 19, 2016                                          PEC         $149,444,000.00
                                                 Oklahoma
   5539              August 19, 2016       Seneca-Cayuga Nation               PEC         $149,444,000.00
                                          Peoria Tribe of Indians of
   5540              August 19, 2016                                          PEC         $149,444,000.00
                                                 Oklahoma
   5541              August 19, 2016          Wyandotte Nation                PEC         $149,444,000.00
                                          Eastern Shawnee Tribe of
   5542              August 19, 2016                                      Gold Fields     $149,444,000.00
                                                 Oklahoma
   5543              August 19, 2016      Ottawa Tribe of Oklahoma        Gold Fields     $149,444,000.00
                                          Peoria Tribe of Indians of
   5544              August 19, 2016                                      Gold Fields     $149,444,000.00
                                                 Oklahoma
   5545              August 19, 2016       Seneca-Cayuga Nation           Gold Fields     $149,444,000.00
   5546              August 19, 2016          Wyandotte Nation            Gold Fields     $149,444,000.00
   5547              August 19, 2016      Miami Tribe of Oklahoma         Gold Fields     $149,444,000.00
   5550              August 19, 2016      Miami Tribe of Oklahoma            PEC          $149,444,000.00
   5620              August 19, 2016          Cherokee Nation                PEC          $149,444,000.00
   5621              August 19, 2016      Peoria Tribe of Indians of         PEC          $149,444,000.00

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 Proof of
  Claim                Date Filed                Claimant              Debtor       Claim Amount
                                                 Oklahoma
   6120              August 19, 2016          Cherokee Nation         Gold Fields   $149,444,000.00
   6145              August 19, 2016         Wyandotte Nation            PEC        $149,444,000.00
                                         Missouri Department of
   6689              October 6, 2016                                  Gold Fields    $18,159,774.00
                                             Natural Resources
                                         Missouri Department of
   6690              October 6, 2016                                     PEC         $18,159,774.00
                                             Natural Resources
   6722              October 10, 2016       State of Oklahoma         Gold Fields    $4,442,833.00
                                          Illinois Department of
   6730              October 11, 2016                                 Gold Fields    $1,393,667.00
                                             Natural Resources
                                          Illinois Department of
   6731              October 11, 2016                                    PEC         $1,393,667.00
                                             Natural Resources
                                         Missouri Department of
   6733              October 11, 2016                                 Gold Fields    $1,949,233.00
                                             Natural Resources
                                        Oklahoma Department of
   6735              October 11, 2016                                    PEC          $762,757.63
                                         Environmental Quality
                                        Oklahoma Department of
   6736              October 11, 2016                                 Gold Fields    $1,878,398.66
                                         Environmental Quality
                                        Montana Natural Resource
   6738              October 11, 2016                                    PEC         $27,851,200.00
                                             Damage Program
   6760              October 11, 2016       State of Oklahoma            PEC         $6,099,270.00
                                           Secretary of Kansas
   6766              October 11, 2016   Department of Health and         PEC         $3,177,369.00
                                               Environment
                                        United States, on behalf of
   6768              October 11, 2016                                    PEC        $286,757,944.00
                                                    DOI
                                          Kansas Department of
   6773              October 11, 2016                                 Gold Fields    $73,584,615.00
                                         Health and Environment
                                           Secretary of Kansas
   6774              October 11, 2016   Department of Health and      Gold Fields    $3,177,369.00
                                               Environment
                                          Kansas Department of
   6775              October 11, 2016                                    PEC         $40,903,373.00
                                         Health and Environment
                                        United States, on behalf of
   6776              October 11, 2016                                    PEC        $877,431,819.00
                                                    EPA
                                        United States, on behalf of
   6776              October 11, 2016                                 Gold Fields   $934,070,370.00
                                                    EPA
                                        United States, on behalf of
   6777              October 11, 2016                                 Gold Fields   $429,547,177.00
                                                    DOI
                                         Missouri Department of
   6921          February 16, 2017                                       PEC         $18,159,774.00
                                             Natural Resources




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         C.          On January 25, 2017, the Debtors filed (i) Debtors' Objection to U.S. Department

 of Interior's Claim (Claim #6768) [Dkt. No. 2184]; (ii) Debtors' Objection to U.S. [sic]

 Department of Justice's Claim (Claim #6738) [Dkt. No. 2185]; and (iii) Debtors' Objection to

 U.S. Environmental Protection Agency's Claim (Claim #6776) [Dkt. No. 2186].

         D.          On January 25, 2017, the Debtors also filed the Debtors' Thirteenth Omnibus

 Claims Objection to Certain Claims (Zero Liability Claims) [Dkt. No. 2187], whereby the

 Debtors objected to Proofs of Claim Nos. 5620, 5538, 5550, 5537, 5540, 5621, 5539, 5541,

 6145, 6775, 6766, 6768, 6768, 6760, 6768, 6735, 5860, 5850 and 6731.

         E.          On January 27, 2017, the Debtors filed the Second Amended Joint Plan of

 Reorganization of Debtors and Debtors in Possession (as it may be modified, supplemented or

 amended, the "Plan") [Dkt. No. 2229].

         F.          On February 2, 2017, the Debtors filed (i) Debtors' Objection to U.S.

 Environmental Protection Agency's Claim (Claim #6776), [Dkt. No. 2316]; (ii) Debtors'

 Objection to U.S. Department of Interior's Claim (Claim #6777) [Dkt. No. 2317]; (iii) Debtors'

 Objection to the Secretary of Kansas Department of Health and Environment's Claim (Claim

 #6777) [Dkt. No. 2318]; (iv) Debtors' Objection to the State of Missouri's Claim (Claim #6777)

 [Dkt. No. 2319]; (v) Debtors' Objection to the State of Oklahoma's Claim (Claim #6777)

 [Dkt. No. 2320]; (vi) Debtors' Objection to Kansas Department of Health and Environment

 (Claim #6773) [Dkt. No. 2321]; (vii) Debtors' Objection to the Illinois Department of Natural

 Resources' Claim (Claim #6730) [Dkt. No. 2322]; and (vii) Debtors' Objection to Missouri

 Department of Natural Resources' Claims (Claim #6689 & Claim #6690) [Dkt. No. 2323].




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         G.          On March 9, 2017, the Governments filed United States', States' and Tribes'

 Objection to Debtors' Second Amended Joint Plan of Reorganization [Dkt. No. 2648] (the "Plan

 Objection").

         H.          A separate Stipulation and Agreed Order, dated March 16, 2017, was entered into

 between (i) Gold Fields, (ii) Century Indemnity Company and Pacific Employers Insurance

 Company (collectively, the "Insurers") and (iii) Blue Tee Corporation ("Blue Tee") that resolves,

 among other things, whether and/or to what extent the historical insurance policies set forth on

 Exhibit I.A.127 to the Plan (the "Historic Gold Fields Policies") provide coverage for the

 Environmental Proofs of Claim and other claims (the "Insurance Settlements"). See Stipulation

 and Agreed Order Pursuant to Sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy

 Rules 6004 and 9019 (i) Approving Settlement and Release Agreement Between and Among Gold

 Fields Mining LLC, Blue Tee and the Historic Gold Fields Insurers, (ii) Authorizing Gold Fields

 Mining LLC to Enter Into the Settlement and Release Agreement, (iii) Authorizing the Sale of

 Gold Fields Mining LLC's Rights in Historic Gold Fields Insurance Policies Free and Clear of

 Liens, Claims, and Interests, (iv) Approving the Settlement Agreement and Release, and (v)

 Providing for Injunctive Relief Barring Claims Against the Historic Gold Fields Insurers

 [Dkt. No. 2370] ("Insurer Stipulation and Agreed Order").2



                                                RECITALS

         I.          The Parties now each desire to (i) resolve the Plan Objection as provided herein

 and as reflected in other changes to the Plan and (ii) resolve, compromise, and settle all Claims

 asserted in the Environmental Proofs of Claim. These efforts to resolve Claims shall include, but




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 not be limited to, the entry of a future settlement agreement or settlement agreements that will

 include customary covenants not to sue and/or releases and contribution protections.

           J.        The Governments' Environmental Proofs of Claim assert, among other things,

 certain administrative claims against the Debtors. While the Debtors disagree with the

 Governments' characterization of their alleged claims, rather than dispute the nature of these

 claims and engage in costly, complex, and protracted litigation to the detriment of the Debtors'

 estates and other parties in interest, the Debtors have agreed to the compromise as set forth

 herein.

           K.        The Insurers have agreed to pay $12,000,000.00 (the "Insurer Payment") for

 environmental liabilities at Blue Tee sites at the direction of the Governments in accordance with

 an allocation to be set forth in a future settlement agreement between the Governments and the

 Debtors, subject to the Debtors' approval which shall not be unreasonably withheld. The Insurer

 Payment shall initially be made to the Gold Fields Liquidating Trust to be held in trust

 exclusively for the benefit of the Governments and to be allocated and paid in accordance with

 the future settlement agreement.

           L.        The Parties agree that the Insurer Payment is for the benefit of Claims and Causes

 of Action (including those asserted in the Environmental Proofs of Claim) made by the

 Governments; provided, however, that regardless of the number of claimants or amount of such

 claims, the Insurer Payment shall not exceed $12,000,000.00.

           M.        The Parties have agreed that the United States will also retain the $11,192,942.00

 tax refund due to Peabody, to the extent approved by the Internal Revenue Service, resulting

 from certain tax losses generated in the 2015 tax year and carried back to the 2010 tax year (the

 "Tax Payment") to be used as a set off recovery on the proofs of claim of the United States in



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 accordance with an allocation set forth in a future settlement agreement(s). Notwithstanding

 anything to the contrary in this Stipulation and Agreed Order, the Plan or the Confirmation

 Order, the Parties agree that the United States shall not be entitled to set off of any other tax

 refunds requested by the Debtors or the Reorganized Debtors resulting from any tax losses or tax

 overpayments or other credits for any other tax periods, including for the avoidance of doubt the

 2016 tax year and any subsequent tax years, carried back or otherwise applied to a pre-petition

 tax year against any pre-petition Claim (i.e., including, but not limited to, those asserted in the

 Environmental Proofs of Claim) of the United States whether or not asserted in the Chapter 11

 Cases and provided for under this Stipulation and Agreed Order, the Plan or the Confirmation

 Order.

          N.         The Debtors have agreed to pay $20 million (the "Debtors' Payment," and

 together with the Insurer Payment and the Tax Payment, the "Settlement Payments") to the Gold

 Fields Liquidating Trust to be held in trust exclusively for the benefit of the Governments and to

 be allocated as follows: $3.4 million to an EPA dedicated special account for the Old American

 Zinc site in Illinois; $3.4 million to an EPA dedicated special account for the Taylor Springs site

 in Illinois; $1 million to an EPA dedicated special account for the Bautsch Gray site in Illinois;

 $2.6 million to an EPA dedicated special account for the Tar Creek site in Oklahoma;

 $0.15 million to an EPA dedicated special account for the Seven Tribes'-related investigation(s)

 within OU5 at the Tar Creek site in Oklahoma; $0.15 million to a tribal dedicated special

 account for the Seven Tribes' response costs at the Tar Creek site in Oklahoma; $1.25 million to

 an EPA dedicated special account for the Cherokee County site in Kansas; $0.25 million to a

 Kansas dedicated special account for operations and maintenance at the Cherokee County site in

 Kansas; $2.65 million to an EPA dedicated special account for the Caney Residential Yard site in



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 Kansas; $2.65 million to an EPA dedicated special account for the Jasper County site in

 Missouri; $2 million to the Gold Fields Liquidating Trust for the AZLS site in Kansas; and

 $0.5 million to a Kansas dedicated special account for the East La Harpe smelter site.3 Under no

 circumstances shall these funds be used for any other purpose. The above allocation of the

 Debtors' Payment shall also be set forth in the future settlement agreement between the Debtors

 and the Governments. The Debtors' Payment shall be made within five business days of the

 Court's approval of the future settlement agreement referenced above.

           O.        The Gold Fields Debtors own (i) a five-acre parcel in Caney, Kansas (the "Caney

 Parcel") at the AZLS site and (ii) two 0.17 acres parcels in Rockwood, Tennessee (the

 "Rockwood Parcels"). With respect to the Caney Parcel, the environmental remediation action

 was completed in 1999 in accordance with an EPA approved plan and the Gold Fields Debtors

 improved the initial site remedy in 2015, also in accordance with an EPA approved plan.

 Currently, the Caney Parcel only requires ongoing maintenance. The Caney Parcel no longer

 requires active remediation activities. Similarly, the Rockwood Parcels no longer require active

 remediation activities; instead, the Rockwood Parcels currently require only minimal

 maintenance activities (e.g., cutting grass).

           P.        $2 million of the Debtors' Payment allocated to the Caney Parcel will be set aside

 and held in trust in a segregated account to be used exclusively for response actions and

 operations and maintenance activities at the Caney Parcel and used for no other purpose

 whatsoever. If the Gold Fields Liquidating Trust transfers the Caney Parcel to the State of

 Kansas, or any agency thereof, it shall transfer to the State or agency thereof any remaining

 funds in the segregated account. The Gold Fields Liquidating Trustee and the State of Kansas


 3
     The dedicated special accounts shall mean special accounts set up by the EPA pursuant to 42 U.S.C. § 9622(b)(3)
     or similar accounts set up by Kansas and/or the Tribes under their applicable laws.

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 and/or the applicable State or agency shall agree that any such funding provided shall not be used

 for any other purpose.

         Q.          The Gold Fields Liquidating Trustee shall provide EPA and Kansas (meaning

 KDHE) at least 45 days advance notice of any transfer of the Caney Parcel. If the Caney Parcel

 is not transferred within one year of the creation of the Gold Fields Liquidating Trust, the Gold

 Fields Liquidating Trustee may abandon the Caney Parcel subject to notice and opportunity to

 object by the EPA and Kansas. If the Caney Parcel is abandoned, any remaining funds in the

 segregated account will be paid to a State of Kansas dedicated special account with notice to

 EPA and the State of Kansas.

         R.          Regarding the Rockwood Parcels, the Debtors, prior to the Effective Date, or the

 Gold Fields Liquidating Trustee, if after the Effective Date, will undertake best efforts to sell,

 assign, donate, or otherwise transfer the Rockwood Parcels to a third party (collectively,

 the "Rockwood Transfer"). The Gold Fields Liquidating Trustee shall provide EPA at least 45

 days advance notice of any transfer of the Rockwood Parcels. If the Rockwood Parcels are not

 transferred within one year of the creation of the Gold Fields Liquidating Trust, the Gold Fields

 Liquidating Trustee may abandon the Rockwood Parcels subject to notice and opportunity to

 object by the EPA and the State of Tennessee.

         S.          The Governments agree to withdraw the Plan Objection.

         T.          The Debtors have sound business purposes and justifications and have

 appropriately exercised such judgment to justify the resolution of the Environmental Proofs of

 Claim and the Plan Objection with the Settlement Payments, as set forth herein in this Stipulation

 and Agreed Order and future settlements related thereto.




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         U.          The resolution and settlement of the Plan Objection and the Environmental Proofs

 of Claim in exchange for the Settlement Payments is in the best interests of the Debtors, their

 creditors and all parties in interest.

         V.          The resolution of the Plan Objections and the Environmental Proofs of Claim

 provides substantial benefits to the Debtors; eliminates the delay, uncertainty and expense of

 litigating the merits of the Environmental Proofs of Claim; and advances the orderly, economical

 and expeditious liquidation of the Gold Fields Debtors.

         W.          While Debtors believe they would prevail, the probability of success for any

 litigation, including the issues raised in the Plan Objections and the Environmental Proofs of

 Claims, is always uncertain. Also, the litigation of the matters resolved by this Stipulation and

 Agreed Order would be complex and costly


         X.          The future settlement[s] related to this Stipulation and Agreed Order is subject to

 the approval of the Governments' officials with requisite authority to approve such settlements.


                                STIPULATION AND AGREED ORDER

         NOW, THEREFORE, it is hereby stipulated and agreed by and between the Parties

 through their undersigned counsel and the Court ORDERS, as follows:

         1.          The findings and conclusions of law set forth herein constitute the findings of fact

 and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

 pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact constitute

 conclusions of law or any of the following conclusions of law constitute findings of fact, they are

 adopted as such.




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         2.          The statutory predicates for the relief requested in this Stipulation and Agreed

 Order are section 105(a) of the Bankruptcy Code and Bankruptcy Rule 9019. This Court has

 authority to approve this Stipulation and Agreed Order.

         3.          This Stipulation and Agreed Order and the transactions contemplated therein are

 in the best interests of the Debtors, their creditors, and all parties in interest.

         4.          This Stipulation and Agreed Order shall constitute valid and binding obligations

 of all Parties and shall be enforceable in accordance with the terms hereof.

         5.          The Insurer Payment, as approved by the Insurer Stipulation and Agreed Order,

 shall be initially paid to the Gold Fields Liquidating Trust and held in trust exclusively for the

 benefit of the Governments and shall be allocated and paid in accordance with a future

 settlement agreement subject to the Debtors' approval which shall not be unreasonably withheld.

         6.          The Insurer Payment shall be for the benefit of Claims and Causes of Action

 (including those asserted in the Environmental Proofs of Claim) made by the Governments,

 provided, however, that regardless of the number of claimants or amount of such claims, the

 Insurer Payment shall not exceed $12,000,000.00.

         7.          The Tax Payment shall be for the benefit of Claims and Causes of Action

 (including those asserted in the Environmental Proofs of Claim) made by the United States.

         8.          The United States shall be entitled to retain the Tax Payment to be used as a set

 off recovery on the proofs of claim of the United States in accordance with an allocation set forth

 in a future settlement agreement. Notwithstanding anything to the contrary in this Stipulation

 and Agreed Order, the Plan or the Confirmation Order, the United States shall not be entitled to

 set off of any other tax refunds requested by the Debtors or the Reorganized Debtors resulting

 from any tax losses or tax overpayments or other credits for any other tax periods, including, for



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 the avoidance of doubt the 2016 tax year and any subsequent tax years, carried back or otherwise

 applied to a pre-petition tax year against any pre-petition Claim (i.e., including, but not limited

 to, those asserted in the Environmental Proofs of Claim) of the United States whether or not

 asserted in the Chapter 11 Cases and provided for under this Stipulation and Agreed Order, the

 Plan or the Confirmation Order.

          9.         The Debtors' Payment shall be initially paid to the Gold Fields Liquidating Trust

 and held in trust exclusively for the benefit of the Governments and to be allocated and paid in

 accordance with paragraph N above and a future settlement agreement subject to the Debtors'

 approval which shall not be unreasonably withheld. The Debtors' Payment shall be for the

 benefit of Claims and Causes of Action (including those asserted in the Environmental Proofs of

 Claim) made by the Governments in accordance with the allocation set forth in paragraph N

 above and a future settlement agreement.

          10.        Pursuant to a future settlement agreement, the Governments will resolve,

 compromise, and settle as provided herein all Claims asserted in the Environmental Proofs of

 Claim.

          11.        Despite receipt by the Gold Fields Liquidating Trust, the Debtors' Payment, the

 Insurer Payment, and the financial assurances referred to in paragraph 13 shall not constitute

 Gold Fields Liquidating Trust Assets (as defined in the Plan) available to fund distributions to

 holders of Allowed Claims (as defined in the Plan) against any of the Debtors or be available to

 satisfy fees and expenses associated with administration of the Gold Fields Liquidating Trust,

 except to the extent necessary to maintain such assets on the Governments' behalf.

          12.        From and after the Effective Date, each of the Parties must use their respective

 commercially reasonable efforts to execute or cause to be executed and deliver or cause to be



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 delivered all such agreements, instruments and documents as may reasonably be necessary from

 time to time to carry out the intent and purpose of this Stipulation and Agreed Order and to

 consummate the transactions contemplated hereby and thereby. Any future settlement

 agreements related to this Stipulation and Agreed Order are subject to the approval of the

 Governments' officials with requisite authority to approve such settlements.

         13.         Prior to the Effective Date, the Debtors shall use commercially reasonable efforts

 to assist the applicable Governments to draw down on certain existing financial assurances

 created for the benefit of certain applicable Governments. In the event that such financial

 assurances have not been drawn down by the Effective Date, the Gold Fields Liquidating Trust

 shall succeed to the Debtors' rights under the financial assurances and use its commercially

 reasonable efforts to assist the applicable Governments to draw down on such financial

 assurances. In no event shall any financial assurances or proceeds thereof be used other than as

 approved by the applicable Governments.

         14.         Each signatory hereto shall be responsible for their own fees and expenses in

 connection with the negotiation and consummation of this Stipulation and Agreed Order.

         15.         The Debtors are authorized and directed to make any changes to the form of the

 Gold Fields Liquidating Trust Agreement necessary to reflect provisions of this Stipulation and

 Agreed Order.

         16.         Any modifications, alterations or amendments to this Stipulation and Agreed

 Order in whole or in part shall be subject to further approval of the Court.

         17.         In the event that any term or provision of this Stipulation and Agreed Order is in

 conflict with the Confirmation Order or the Plan, including but not limited to the Gold Fields

 Liquidating Trust, the terms of this Stipulation and Agreed Order shall control.



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         18.         Notwithstanding any Bankruptcy Rule or Local Bankruptcy Rule that might

 otherwise delay the effectiveness of this Stipulation and Agreed Order, the terms and conditions

 of this Stipulation and Agreed Order shall be immediately effective and enforceable upon its

 entry. Further, this Stipulation and Agreed Order constitutes a final and immediately appealable

 order within the meaning of 28 U.S.C. § 158(a).

         19.         No later than two days after the date this Stipulation and Agreed Order is entered

 on the docket, the Claims and Noticing Agent is directed to serve a copy of this Order on the

 Notice Parties and is directed to file a certificate of service no later than 24 hours after service.



 Dated: March ____, 2017

                                                   IT IS SO ORDERED:


                                                   _____________________________
                                                   United States Bankruptcy Judge




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  Dated: March 17, 2017
         St. Louis, Missouri

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